                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                               5:07CV115-1-V
                               5:03CR12-2-V


                                              )
ERIC BERNARD SMITH,                           )
                                              )
                            Petitioner,       )
               Vs.                            )                ORDER
                                              )
UNITED STATES of AMERICA,                     )
                                              )
                            Respondent.       )


       THIS MATTER comes before the Court upon the Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence (Doc. No.1), filed October 15, 2007; and Respondent’s Motion

for Summary Judgment (Doc. No. 9), filed March 5, 2008.

       For the reasons set forth below, the Court will grant Respondent’s Motion for

Summary Judgment and dismiss Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence.

                               PROCEDURAL HISTORY

       On February 25, 2003, Petitioner was charged in Count One of a sixteen count

indictment with conspiracy to possess with intent to distribute cocaine base in violation

of 21 U.S.C. § 846. More specifically, Count One alleged that the conspiracy involved

five kilograms or more of a mixture or substance containing a detectable amount of

cocaine and fifty or more grams of a mixture or substance containing a detectable

amount of cocaine base. Petitioner was also charged in Count Three with knowingly

and unlawfully possessing with intent to distribute a quantity of cocaine base in violation




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of 21 U.S.C. § 841.

       On February 27, 2003, the Government filed an Information pursuant to 21

U.S.C. § 851 setting forth seven prior convictions for felony drug offenses. Four of

these convictions became final on June 3, 1996, and three of the convictions became

final on October 1, 1997. On April 28, 2004, the Government filed an Amended

Information pursuant to 21 U.S.C. § 851 again listing seven prior drug felonies.

       Beginning May 4, 2004, Petitioner’s case was tried before a jury. Following the

Government’s case, Petitioner’s counsel moved for judgment of acquittal arguing that

the drug transactions about which the Government’s witnesses testified did not “rise to

the grand conspiracy alleged in the Indictment” and, with respect to the distribution

requirement, the five grams of crack found in Petitioners car on October 19, 2001, was

not a sufficient quantity from which an intent to distribute could be inferred. This Court

denied the Motion for Judgment of Acquittal. Petitioner did not present any evidence

and, on May 10, 2004, the jury returned a verdict finding Petitioner guilty of both

charges.

       On January 10, 2005, this Court sentenced Petitioner to life imprisonment on the

conspiracy charge and 360 months imprisonment on the possession with intent to

distribute charge. Judgment was entered on February 3, 2005. Meanwhile Petitioner

had filed a Notice of Appeal on January 11, 2005. On June 13, 2006, the United States

Court of Appeals for the Fourth Circuit affirmed Petitioner’s sentence and conviction in

a published case. United States v. Smith, 451 F.3d 209 (4th Cir. 2006). On October 2,

2006, the Supreme Court denied Petitioner’s petition for writ of certiorari.



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       On October 15, 2007, Petitioner filed the instant Motion to Vacate.1 In his

motion, Petitioner alleges that his trial counsel was ineffective. More specifically,

Petitioner alleges that his counsel was ineffective because he failed to cross-examine

government witnesses on the issue of the conspiracy. In addition, Petitioner alleges

that his trial counsel failed to question co-conspirators about the reductions in their

sentences that they hoped to receive as a result of their testimony. Finally Petitioner

alleges there were various other “serious problems with the trial.”

                                        ANALYSIS

       Petitioner’s ineffective assistance of counsel claims are governed by the holding

in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the Supreme

Court held that in order to succeed on an ineffective assistance of counsel claim, a

petitioner must establish that counsel’s performance was constitutionally defective to

the extent it fell below an objective standard of reasonableness, and that he was

prejudiced thereby, that is, there is a reasonable probability that but for the error, the

outcome would have been different. In making this determination, there is a strong

presumption that counsel’s conduct was within the wide range of reasonable

professional assistance. Id. at 689; Fields v. Attorney General of Md., 956 F.2d 1290,

1297-99 (4th Cir. 1995). Petitioner bears the burden of proving Strickland prejudice.

Fields, 956 F.2d at 1297. If the petitioner fails to meet this burden, a “reviewing court

need not consider the performance prong.” Id. at 1290.



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        The Government argues that Petitioner’s Motion to Vacate is untimely filed. As
this Court has determined that Petitioner’s Motion to Vacate is clearly meritless, this
Court declines to address the issue of timeliness.

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       Petitioner alleges that his counsel was ineffective because he failed to cross-

examine government witnesses with regard to general drug activity versus the existence

of a conspiracy. (Doc. No. 1 at p. 4.) Petitioner asserts that his trial counsel should

have asked the government witnesses about “other factors that would indicate a

conspiracy as opposed to a mere series of buys and sales, such as whether the alleged

co-conspirators shared an interest in the redistribution of the narcotics, whether the

transactions were standardized in any way, or whether there was a mutual trust

between the buyer and seller.” (Doc. No. 1 at p. 4.) The only witness Petitioner

specifically identifies with regard to this claim is Camron Pope (“Pope”). Petitioner,

however, provides no evidence to support a conclusion that any questions on this topic,

if asked of Pope or any other witness, would have led to evidence that would lead this

Court to conclude that a reasonable probability exists that but for such error the

outcome of the trial would have been different. A habeas claim cannot be based solely

upon speculation or conjecture. See Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir.

1992)(“a habeas petitioner must come forward with some evidence that the claim might

have merit. Unsupported conclusory allegations do not entitle a habeas petitioner to an

evidentiary hearing.”) Consequently, Petitioner has not carried his burden and this

claim is dismissed.

       Moreover, the Court notes that in affirming Petitioner’s conviction, the Fourth

Circuit stated that “the prosecution presented extensive evidence of [Petitioner’s]

involvement in a long-running drug business centered in “The Hill” neighborhood . . . .

United States v. Smith, 451 F.3d 209, 214 (4th Cir. 2006). Indeed, the Fourth Circuit

held that “the evidence was more than sufficient to permit the jury to conclude that the

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illegal activities of the conspirators constituted a single conspiracy rather than separate,

multiple conspiracies.” Id. at 218. In so holding, the Fourth Circuit noted that the trial

evidence that the drug distribution ring at issue involved the same core participants,

over the same time period and that these conspirators were shown to have shared the

same objectives and methods. Id. In addition, the Fourth Circuit noted that “the overall

strength of the prosecution’s case was undeniable: there was ample evidence – from

multiple witnesses – that [Petitioner] was actively involved in the illegal drug business in

The Hill neighborhood of Hickory buying and selling drugs with his co-conspirators

during the period of Count One of the conspiracy. In addition, the evidence of his drug

activity was corroborated by law officers . . . .” Id. at 222. The lack of any specificity in

Petitioner’s claim coupled with the strength of the prosecution’s case, as recognized by

the Fourth Circuit, supports this Court’s conclusion that, at a minimum, Petitioner was

not prejudiced by his counsel’s failure to ask unspecified questions about factors

indicating a buy-sell relationship versus a conspiracy.

       Petitioner also alleges that his counsel was ineffective because he failed to

question any of the Government witnesses with regard to their testifying in hopes of

receiving a reduced sentence. (Doc. No. 1 at p. 4.) Petitioner does not elaborate on

this assertion. A review of the trial transcript reveals that most, if not all, co-

conspirators were cross-examined regarding the potential for a reduced sentence as a

result of their plea agreements with the Government. (Trial Tr. 5/5/2004: 173-76; 201-

05; 218-221; 252-55; 288-89; 309); (Trial Tr. 5/6/2004: 590; 598-99); (Trial Tr.

5/7/2004: 693-99; 741-44). Moreover, the prosecution also raised the issue of

potential sentence reduction with each co-conspirator witness. (Trial Tr. 5/4/2004: 150-

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52); (Trial Tr. 5/5/2004: 198-201; 243-45; 283-84); (Trial Tr. 5/6/2004 582-83; 605);

(Trial Tr. 5/7/2004: 691; 735-39; 779-81.) As the matter of the possibility of co-

conspirator witness’ receiving a reduced sentence based upon their testimony against

Petitioner was raised with regard to each such witness, Petitioner’s counsel was not

ineffective nor was Petitioner prejudiced.

       Petitioner goes on to assert that his trial counsel “failed to make any cross-

examination at all of any of the witnesses whose testimony” led to his life sentence.

(Doc. No. 1 at p. 5.) Again, a review of the trial transcript reveals the that all but a

couple of the numerous government witness were thoroughly cross-examined. As

such, Petitioner’s claim of ineffective assistance of counsel based upon this allegation

is completely baseless and is dismissed.

       Petitioner concludes his Motion to Vacate by asserting that “[t]here were other

serious problems with trial as well. “ (Doc. No. 1 at pp. 5-6.) In support of this

assertion, Petitioner references the drug evidence destroyed by the police; the juror

who stated during voir dire that she thought she could not be unbiased; and the joinder

of Petitioner and his co-defendant for trial. (Doc. No. 1 at pp. 5-6.) Each of these

issues was raised on direct appeal and specifically denied by the Fourth Circuit. United

States v. Smith, 451 F.3d at 218-222. Petitioner does not assert these conclusory

claims in the context of ineffective assistance of counsel. The fact that these issues

were raised and decided on direct appeal precludes this Court’s review of these claims.

See Boechenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976)(issues fully

litigated on direct appeal may not be relitigated in a subsequent § 2255 action). These

claims are dismissed.

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                                       CONCLUSION

      A review of the record reveals that Petitioner’s trial counsel vigorously

represented Petitioner during his criminal proceedings. However, the overwhelming

evidence against Petitioner resulted in his ultimate conviction. Moreover, the Court

notes that the Sixth Amendment does not mandate that a defendant receive a perfect

trial, but merely one which is free from constitutional error. See United States v.

Hasting, 461 U.S. 499, 508-09 (1983)(“taking into account reality of the human fallibility

of the participants, there can be no such thing as an error-free, perfect trial, . . . and the

Constitution does not guarantee such a trial.”) and Delaware v. Van Ardsall, 475 U.S.

673, 681 (1986)(noting that a criminal defendant is entitled to a “fair trial, not a perfect

one.”).

          THEREFORE, IT IS HEREBY ORDERED that :

          1. Respondent’s Motion for Summary Judgment is GRANTED; and

          2. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence is DISMISSED.



                                              Signed: February 26, 2009




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